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                             UNITED STATES DISTRICT COURT
                            CENTRAL DISTRICT OF CALIFORNIA                                JS-6
                                    CIVIL MINUTES – GENERAL

 Case No.        SACV 21-00687-DOC-JDEx                              Date      October 27, 2021
 Title           Adam Ghadiri v. TV and Furniture liquidators, et al.



PRESENT:

                HONORABLE DAVID O. CARTER, UNITED STATES DISTRICT JUDGE

         Karlen Dubon                                               Not Reported
         Deputy Clerk                                               Court Reporter

ATTORNEYS PRESENT FOR PLAINTIFF:                      ATTORNEYS PRESENT FOR DEFENDANT:

         None Present                                               None Present

PROCEEDINGS:            (IN CHAMBERS) ORDER DISMISSING ACTION FOR LACK OF
                        PROSECUTION FOR FAILURE TO COMPLY WITH THE COURT’S
                        ORDER


       On October 19, 2021, the Court issued a minute order which ordered Plaintiff to show
cause in writing on or before October 26, 2021 why this action should not be dismissed for lack
of prosecution [23]. Plaintiff has failed to respond to the Court's Order. Therefore, the Court
ORDERS that this action is dismissed without prejudice for lack of prosecution and for failure
to comply with the Orders of the Court.

         The Court’s Order to Show Cause is hereby DISCHARGED.




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                                                    Initials of Deputy Clerk    kdu




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